                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


J. DUANE GILLIAM, Guardian of the Estate of         )
Leon Brown, RAYMOND C. TARLTON,                     )
Guardian Ad Litem for Henry Lee McCollum,           )
KIMBERLY PINCHBECK, as Limited Guardian             )
and Conservator of the Estate of                    )
Henry Lee McCollum,                                 )
                                                    )
                              Plaintiffs,           )
                                                    )
       V.                                           )            JUDGMENT
                                                    )
ROBESON COUNTY, TOWN OF RED                         )          5:15-CV-451-BO
SPRINGS, KENNETH SEALEY, both                       )
Individually and in his Official Capacity as the    )
Sheriff of Robeson County, LARRY FLOYD,             )
LEROY ALLEN, PAUL CANADY,                           )
Administrator C.T.A. of the Estate of Luther        )
Haggins, ROBERT PRICE, Administrator                )
C.T.A. of the Estate of Joel Garth Locklear, Sr.,   )
CHARLOTTE NOEL FOX, Administrator of the            )
Estate of Kenneth Snead,                            )
                                                    )
                              Defendants.           )
                                                    )

DECISION BY THE COURT.

IT IS ORDERED, ADJUDGED AND DECREED, pursuant to the Court' s order entered May
27, 2016, that plaintiffs ' claims against defendant Robeson County are dismissed with prejudice.


IT IS FURTHER ORDERED, ADJUDGED AND DECREED, pursuant to the Court' s order
entered June 20, 2018, that defendants Town of Red Springs, Larry Floyd, and Paul Canady,
Administrator C.T.A. of the Estate of Luther Haggins, are dismissed from this action with
prejudice.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED, pursuant to the Court's order
entered May 14, 2021 , plaintiffs' claims against defendants Kenneth Sealey and Robert E. Price,
administrator C.T.A. of the estate of Joel Garth Locklear, are dismissed with prejudice.




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JURY VERDICT. The remaining claims in this action came before the Court for a trial by jury.
The issues have been tried and the jury rendered its verdict on May 14, 2021, and the Court
considered the issue of qualified immunity.

IT IS ORDERED, ADJUDGED AND DECREED that Plaintiffs have proven by the
preponderance of the evidence that Leroy Allen violated Henry McColl um' s constitutional rights.
Plaintiffs have proven that Kenneth Snead violated Henry McColl um' s constitutional rights.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiffs have not proven
that Leroy Allen violated Leon Brown's constitutional rights. Plaintiffs have proven that
Kenneth Snead violated Leon Brown's constitutional rights.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendant Leroy Allen is
entitled to qualified immunity as to the claims by Leon Brown and is not entitled to qualified
immunity as to the claims by Henry McCollum.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendant Kenneth Snead
i~ not entitled to qualified immunity.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff Henry McCollum
is entitled to recover $ 31 million in compensatory damages.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff Leon Brown is
entitled to recover $ 31 million in compensatory damages.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff Henry McColl um
is entitled to recover $ 3 million in punitive damages from Defendant Leroy Allen.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff Henry McColl um
is entitled to recover $ 5 million in punitive damages from Defendant Kenneth Snead.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff Leon Brown is
entitled to recover $0 million in punitive damages from Defendant Leroy Allen.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff Leon Brown is
entitled to recover $5 million in punitive damages from Defendant Kenneth Snead.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiffs Henry
McCollum and Leon Brown are entitled to and shall recover post-judgment interest on the entire
amount awarded under this judgment at the rate established by 28 U.S.C. § 1961, accruing as of
the date of entry of the judgment up to and until satisfied in full.

This judement filed and entered with approval of the Court on May 14, 2021, and served
via CM/ECF on:
Catherine Stetson
E. Desmond Hogan


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 Elizabeth Lockwood
 Elliot Sol Abrams
 James Clayton
 W. David Maxwell
 Raymond Tarlton
 Bradley Wood
 James Morgan, Jr.
  Dan Hartzog
  Garris Yarborough
· Dan Hartzog, Jr.
  John Butler, III
  Katherine Barber-Jones
 Timothy Smith, Jr.
  Sonny Haynes
  Scott MacLatchie
  Adam Peoples




                                     PETER A. MOORE, JR., CLERK
May 14, 2021


                                     By: Deputy Clerk




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